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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                   Bankruptcy Case No.: 19-50848
                                                                                  Chapter 13
                       Debtor(s).

                                 NOTICE OF HEARING AND MOTION
                              TO AVOID LIEN(S) IMPARING EXEMPTION


TO:           Judgment Creditors Listed Below, U.S. Trustee and other Parties
              in Interest.

      1. The Debtor, above-named, moves the Court for the relief requested below and gives

         Notice of Hearing.

      2. The Court will hold a Hearing on this Motion at 10:00 a.m. on Thursday, September

         3, 2020, in Courtroom 8 West, Diana E. Murphy United States Courthouse, 300

         South Fourth Street, Minneapolis, Minnesota 55415.

      3. Any response to this Motion must be filed and served not later than Friday, August

         28, 2020 which is five (5) days before the time set for the Hearing, (including

         Saturdays, Sundays, and legal holidays). UNLESS A RESPONSE OPPOSING THE

         MOTION IS TIMELY FILED, THE COURT MAY GRANT THE MOTION WITHOUT A

         HEARING.

      4. This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and 1334,

         Federal Rule of Bankruptcy Procedure 5005 and Local Rule 1070-1.                   This

         proceeding is a core proceeding. The Petition commencing this Chapter 13 case

         was filed on October 28, 2019.

      5. This Motion arises under 11 U.S.C. §522. This Motion is filed under Federal Rule of

         Bankruptcy Procedure 9014 and Local Rules 9013-1 through 9019-1(d).                 The

         purpose of this motion is to avoid the fixing of judicial liens against real property of

         the Debtor.
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  6. A judgment was entered and docketed against Debtor in favor of Ess Brothers and

     Sons, Inc. on 09/04/2018, in St. Louis County Minnesota, District Court File Number

     69DU-CV-18-1457 in the original amount of $8,657.86.

  7. A judgment was entered and docketed against Debtor in favor of Teamsters Local

     346 Savings and 401(k) Plan on 10/29/2018, in St. Louis County Minnesota,

     District Court File Number 69DU-CV-18--2917 in the original amount of $51,566.39.

  8. A judgment was entered on 10/05/2018 and docketed on 01/11/2019 against

     Debtor in favor of David Schrunk and Steven Sauer as Trustees of the Minnesota

     Teamsters Construction Division Health and Welfare Fund, in St. Louis County

     Minnesota, District Court File Number 69DU-CV-19-126 in the original amount of

     $12,309.46.

  9. A judgment was entered on 12/11/2018 and docketed on 01/11/2019 against

     Debtor in favor of John Nesse and Tim Mackey, as Trustees of the Minnesota

     Laborers Health and Welfare Fund in St. Louis County Minnesota, District Court File

     Number 69DU-CV-19-127 in the original amount of $15,838.85.

  10. A judgment was entered on 07/09/2018 and docketed on 08/08/2018 against

     Debtor in favor of North East Technical Services in St. Louis County Minnesota,

     District Court File Number 69HI-CV-18-751 in the original amount of $8,305.55.

  11. A judgment was entered on 04/05/2019 and docketed on 04/11/2019 against

     Debtor in favor of Laurentian Aggregate, LLC in St. Louis County Minnesota, District

     Court File Number 69HI-CV-18-807 in the original amount of $62,639.50.

  12. A judgment was entered and docketed against Debtor in favor of Capital One Bank

     (USA) N.A. on 09/25/2019, in St. Louis County Minnesota, District Court File Number

     69HI-CV-19-955 in the original amount of $14,872.28.

  13. A judgment was entered and docketed against Debtor in favor of Retail Capital
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     Partners, LLC on 05/13/2019, in St. Louis County Minnesota, District Court File

     Number 69DU-CV-19-1220 in the original amount of $34,022.56.

  14. A judgment was entered on 06/04/2019 and docketed on 06/05/2019 in favor of

     Glen Johnson and Timothy Gillen Trustees of the Operating Engineers Local #49

     Health and Welfare Fund, et al in United States District Court, District of Minnesota

     Civil File Number 18-CV-421 (LIB) in the original amount of $28,097.90.

  15. The total of the judgments is $236,310.35.

  16. Debtor claimed a $347,100 exemption for his abstract homestead real estate under

     Minnesota Statutes § 510.01 which is described as:

   Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

  17. The Meeting of Creditors was held on December 17, 2019. No party in interest or

     creditor has filed an objection to the claimed exemptions and the exemptions are

     allowed.

  18. The judgments are, or appear to be, judicial liens within the meaning of 11 U.S.C. §

     101(36).

  19. The judgments are not for a domestic support obligation as described in 11 U.S.C. §

     523(5), nor are they for labor or materials provided to the real property by any of the

     judgment creditors.

  20. The judgment liens impair an exemption to which the Debtor is entitled pursuant to

     § 522(b) and (f)(1) or (2) of the U.S. Bankruptcy Code.

  21. The Debtor listed a value of $700,000 for the homestead real property on Schedule

     A/B of his bankruptcy schedules.

  22. There is a first mortgage against the property in favor of Cenlar Mortgage Central

     Loan Administration recorded on 11/25/15 as doc #01274612 with a loan balance

     of $243,900.
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    23.         There is a tax lien against the property in favor of the IRS recorded on

        3/5/2018 as doc #01328731 with a balance of $56,255.56.

   24. There was a tax lien against the property in favor of Minnesota DEED for

          unemployment taxes recorded on 12/20/2017 as doc #01324475 in the amount

          of $56,435.84.

  25.     The mortgage and tax liens are superior in title to all of the judgment liens.

  26.     The total of the balances of the mortgage and tax liens against the property is

          $356,591.40. Subtracting this total from the listed value of $700,000 results in a

          net equity of $343,408.60. The amount of the allowed exemption is $347,100.

  27.      The Debtor has the right to avoid the judicial liens pursuant to 11 U.S.C.

          §522(f)(1)(A).

  28.     Debtor requests an order determining that the judgment liens do not attach to the

          exempt real property or to the proceeds thereof.

  29.     In the event testimony is taken, the Debtor will testify at the hearing.

WHEREFORE, the Debtor moves the Court for entry of an Order that the judgment liens

described above are avoided and for such other relief as the Court deems just and equitable.

        Dated this 13th day of August 2020.



                                                     /s/ John F. Hedtke
                                                     John F. Hedtke, #167666
                                                     Attorney for Debtor
                                                     1217 East First Street
                                                     Duluth, Minnesota 55805
                                                     218/728-1993
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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

In Re: Anthony J. Lastovich,                                   Bankruptcy Case No.: 19-50848
                                                                                  Chapter 13
                       Debtor.

      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO AVOID JUDGMENT LIENS

       The Debtor brings this Motion to avoid the fixing of judicial liens against his exempt

abstract homestead real property. The Debtor exempted the homestead real estate under

Minnesota Statutes § 510.01 claiming an exemption of $347,100. The exemption was

allowed. Under Minnesota Statutes §510.01, the homestead exemption available to the

debtor is $420,000.

       It appears from the recording information provided on Schedule D of the Debtor’s

bankruptcy schedules that all of the judgment liens sought to be avoided were docketed

after the recording of the mortgage and the tax liens identified below. That would make

them all subordinate to the mortgage and tax liens because a judgment becomes a lien

against all abstract real estate only from the time of docketing in the county where the real

estate is located under Minnesota Statutes §548.09.

     The Debtor’s homestead real property in St. Louis County, Minnesota had a scheduled

value of $700,000. The property is described as follows:

       Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

    The judicial liens sought to be avoided in this action total $236,310.35. The property

was subject to a first mortgage in favor of Cenlar Mortgage with a balance of $243,900 and

two tax liens totaling $112,691.40.

    Section 522(f)(1) of the Bankruptcy Code allows a debtor to avoid a judicial lien “to the

extent that such lien impairs an exemption to which the debtor would have been entitled.”

11 U.S.C. §522(f)(1)
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   The issue at hand is whether the several judgment liens impair an exemption. The

answer to this question involves the invocation of the formula set out in 11 U.S.C.

§522(f)(2)(A) which provides:

        (2)(A) For the purposes of this subsection, a lien shall be considered to impair an

exemption to the extent that the sum of—


(i) the [judicial] lien;

(ii) all other liens on the property; and

(iii) the amount of the exemption that the debtor could claim if there were no liens on the
property;

exceeds the value that the debtor's interest in the property would have in the absence of
any liens.

        Applying the formula to the homestead property, the amount of the judgment liens

($236,310.35) plus the mortgage and tax liens balance ($356,591.40) plus the

homestead exemption ($420,000) equals $1,012,901.70. This $1,012,901.70 sum

exceeds the scheduled value of the real estate ($700,000).

        A question that is commonly before a court how much of the judicial lien is to be

avoided? A part or all? This question was answered by the court in In re Kolich, 328 F3rd

406 (8th Cir.2003).

        The answer is that the judicial lien(s) is to be avoided only to the extent that the

lien(s) impairs the exemption. Conversely, the judicial lien may not be avoided to the extent

that the debtor’s equity in the property exceeds the allowed exemption. Id. at FN 2, pg 409.

        In the case at hand, it is clear that the judicial liens are to be avoided in their

entirety because under the §522(f)(2)(A) formula, the sum of the (i), (ii) and (iii) items

($1,013,996.70) exceeds the debtor’s interest in the property ($700,0000) and thus

impairs the exemption.
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    For the reasons advanced above, the Debtor is entitled to the relief requested.

           Dated this 14th day of August 2020.

                                              /s/ John F. Hedtke
                                              John F. Hedtke, #167666
                                              Attorney for Debtor
                                              1217 East First Street
                                              Duluth, Minnesota 55805
                                              (218) 728-1993
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                           UNITED STATES BANKRUPTCYCOURT
                                DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                               Bankruptcy Case No.: 19-50848
                                                                              Chapter 13
                     Debtor.

                       UNSWORN CERTIFICATE OF SERVICE
______________________________________________________________________________

       I, John F. Hedtke, state and depose that on the 14th day of August 2020, I served a
copy of Debtor’s Notice of Hearing and Motion to Avoid Liens, Memorandum of Law and
proposed Order by first-class mail, postage pre-paid at Duluth, Minnesota, upon the
following:


       Ess Brothers and Sons, Inc.
       9350 County Road 19
       Loretto, MN 55357

       Teamsters Local 346 Savings and 401(k) Plan
       2002 London Road, Suite 300
       Duluth, MN 55812

       David Schrunk and Steven Sauer
       as Trustees of the Minnesota Teamsters
       Construction Division Health and Welfare Fund
       2520 Pilot Knob Rd Ste 325
       Saint Paul, MN 55120


       John Nesse and Tim Mackey
       as Trustees of the Minnesota Laborers
       Health and Welfare Fund
       PO Box 124
       Minneapolis, MN 55440-0124

       North East Technical Services
       526 Chestnut Street
       Virginia, MN 55720

       Laurentian Aggregate, LLC
       11038 Highway 27
       Hibbing, MN 55746

       Capital One Bank (USA) N.A.
       Po Box 30285
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       Salt Lake City, UT 84130


       Retail Capital Partners, LLC
       2150 Alpine Dr
       West Lynn, OR 97068

       Glen Johnson and Timothy Gillen
       Trustees of the Operating Engineers
       Local #49 Health and Welfare Fund
       3001 Metro Drive
       Ste 500
       Bloomington, MN 55425


       The addresses for each judgment creditor listed above are general billing

addresses.


        Service was also made upon each judgment creditor by serving its attorney of

record in the state court civil case, if any, by certified mail, return receipt requested,

pursuant to Federal Rules of Bankruptcy Procedure 7005 incorporating Federal Rules of

Civil Procedure Rule 5 (b):



       Ess Brothers and Sons, Inc.
       C/O Gregorson Rosow
       100 S. Washington Ave
       Ste 1550
       Minneapolis, MN 55401

       Teamsters Local 346 Savings and 401(k) Plan
       C/O Andrew Bransky & Poole
       302 W Superior St.
       Ste 300
       Duluth, Mn 55802

       David Schrunk et al
       C/O McGrann Shea Anderson
       Amy Court, Esq.
       800 Nicolet Mall
       Suite 2600
       Minneapolis, MN 55402
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      John Nesse et al
      C/O McGrann Shea Anderson
      Amy Court, Esq.
      800 Nicolet Mall
      Suite 2600
      Minneapolis, MN 55402

      North East Technical Services
      NO ATTORNEY OF RECORD

      Laurentian Aggregate, LLC
      C/O Wagner Falconer & Judd, LTD
      100 S 5th Street
      Suite 800
      Minneapolis, MN 55402

      Capital One Bank (USA) N.A
      C/O Gurstel Law Office
      6681 Country Club Drive
      Golden Valley, MN 55427

      Retail Capital Partners, LLC
      C/O Gurstel Law Office
      6681 Country Club Drive
      Golden Valley, MN 55427

      Glen Johnson et al
      C/O McGrann Shea Anderson
      Christy Lawrie, Esq.
      800 Nicolet Mall
      Suite 2600
      Minneapolis, MN 55402

  US Trustee by ECF

  Kyle Carlson, Chapter 13 Trustee by ECF



Dated: August 14, 2020

                                                     /s/ John F. Hedtke
                                                      John F. Hedtke
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                  Bankruptcy Case No.: 19-50848
                                                                                 Chapter 13
                      Debtor.

                             ORDER AVOIDING LIENS
______________________________________________________________________________

        This case came before the Court on the Debtor’s Motion. Based on the Motion and
the file, record and proceeding herein,

       IT IS ORDERED:

       That the judicial liens described below are avoided as to the following real estate
and any proceeds thereof:

      Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

      a. The apparent lien in favor of Ess Brothers and Sons, Inc. in St. Louis County

         Minnesota, District Court File Number 69DU-CV-18-1457 in the original amount of

         $8,657.86.

      b. The apparent lien in favor of Teamsters Local 346 Savings and 401(k) Plan on

         10/29/2018, in St. Louis County Minnesota, District Court File Number 69DU-CV-

         18--2917 in the original amount of $51,566.39.

      c. The apparent lien in favor of David Schrunk and Steven Sauer as Trustees of the

         Minnesota Teamsters Construction Division Health and Welfare Fund, in St. Louis

         County Minnesota, District Court File Number 69DU-CV-19-126 in the original

         amount of $12,309.46.

      d. The apparent lien in favor of John Nesse and Tim Mackey, as Trustees of the

         Minnesota Laborers Health and Welfare Fund in St. Louis County Minnesota,

         District Court File Number 69DU-CV-19-127 in the original amount of $15,838.85.

      e. The apparent lien in favor of North East Technical Services in St. Louis County

         Minnesota, District Court File Number 69HI-CV-18-751 in the original amount of
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         $8,305.55.

     f. The apparent lien in favor of Laurentian Aggregate, LLC in St. Louis County

         Minnesota, District Court File Number 69HI-CV-18-807 in the original amount of

         $62,639.50.

     g. The apparent lien in favor of Capital One Bank (USA) N.A. on 09/25/2019, in St.

         Louis County Minnesota, District Court File Number 69HI-CV-19-955 in the original

         amount of $14,872.28.

     h. The apparent lien in favor of Retail Capital Partners, LLC on 05/13/2019, in St.

         Louis County Minnesota, District Court File Number 69DU-CV-19-1220 in the

         original amount of $34,022.56.

    i.   The apparent lien in favor of Glen Johnson and Timothy Gillen Trustees of the

         Operating Engineers Local #49 Health and Welfare Fund, et al in United States

         District Court, District of Minnesota Civil File Number 18-CV-421 (LIB) in the original

         amount of $28,097.90.




Dated:

                                                          _____________________________
                                                          U.S. Bankruptcy Judge
